   Case: 1:20-cv-04699 Document #: 81 Filed: 09/15/20 Page 1 of 12 PageID #:1675




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 IN RE: TIKTOK, INC.,                                MDL No. 2948
 CONSUMER PRIVACY
 LITIGATION,                                         Master Docket No. 20-cv-4699

                                                     Judge John Z. Lee

                                                     Magistrate Judge Sunil R. Harjani

 This Document Relates to All Cases



SETTLING PLAINTIFFS’ AND ADDITIONAL INTERIM COUNSEL’S OBJECTIONS
   TO THE APPLICATIONS OF: (1) EKWAN RHOW, MEGAN JONES, THEIR
 PROPOSED PLAINTIFFS’ STEERING COMMITTEE (KARA WOLKE, AMANDA
KLEVORN AND DAVID GIVEN) AND PROPOSED LIAISON COUNSEL (SHANNON
        MCNULTY); (2) LESLEY WEAVER AND AMY KELLER, AND;
               (3) FRANK HEDIN AND PHILIP FRAIETTA


       As the Court is aware, Settling Plaintiffs (with support from additional Interim Counsel

designated below) propose the following plaintiffs’ counsel leadership structure: Katrina Carroll

and Jonathan Jagher as Co-Lead Counsel; a Steering Committee consisting of Robert Foote,

Michael Gervais, Joseph Guglielmo, Tina Wolfson and James Zouras, and; Beth Fegan as

Liaison Counsel. This structure is the result of arduous consensus building and compromise-

based self-ordering. It also has broad support from counsel involved in the MDL who came

together in the spirit of collaboration. Support for Ms. Carroll and Mr. Jagher’s specific

appointments to serve together as Co-Lead Counsel also goes beyond just the firms who




                                                 1
    Case: 1:20-cv-04699 Document #: 81 Filed: 09/15/20 Page 2 of 12 PageID #:1676




participated in the August 13, 2020 mediation, and includes firms from the Northern District of

California litigation, each of whom attest to our extensive efforts at cooperation and inclusion. 1

       Indeed, the facts speak for themselves. No other counsel in this case has achieved

remotely comparable endorsements or substantive results. See generally Declaration of Katrina

Carroll (the “Carroll Decl.”) [ECF No. 52]. Settling Plaintiffs’ proposed structure is the most

inclusive, has garnered the support of counsel from all districts in the MDL, promotes age,

gender and racial diversity, includes counsel with significant experience in the country’s largest

class actions and specifically incorporates counsel who have the most experience in biometric

privacy cases under BIPA and with technology-focused matters. Our proposed structure best

meets this Court’s articulated criteria for leadership (the willingness and availability to commit

to this case, the ability to work cooperatively, and experience in this type of litigation).

        Most importantly, Ms. Carroll and Mr. Jagher seek appointment as Co-Lead Counsel

because under their direction, Settling Plaintiffs reached a substantial and meaningful settlement

with Defendants (where others previously failed using the same mediator), capitalizing on a

pivotal moment for TikTok, and doing so with the solid backing and the support of so many

other firms. No other counsel was as effective to ensure this opportunity of recovery, especially

given TikTok’s precarious position in light of the President’s Executive Orders and impending

sale. At all times, Ms. Carroll and Mr. Jagher have acted in the best interests of the class and



1
 The following Interim Counsel filed briefs supporting Ms. Carroll and Mr. Jagher as Co-Lead
counsel: Foote, Mielke, Chavez & O’Neil, LLC [ECF No. 27]; Stephan Zouras, LLP; Langeland
Law; Tostrud Law Group, P.C. [ECF No. 28, 30, 32, 39]; Fegan Scott LLC [ECF No. 29]; Scott
+ Scott Attorneys at Law LLP; Wood Law Firm, LLC; Baird Law Firm [ECF No. 31]; Ahdoot &
Wolfson P.C. [ECF No. 33]; Cotchett, Pitre & McCarthy LLP; Bottini & Bottini, P.C. [ECF No.
35]; Susman Godfrey L.L.P. [ECF No. 36]; Cafferty Clobes Meriwether & Sprengel LLP [ECF
No. 37]; Sauder Schelkopf LLC; Gordon Law Offices, Ltd. [ECF No. 42]; Girard Sharp [ECF
No. 44]; Onder Law, LLC [ECF No. 53]; and Consumer Protection Legal, LLC; Law Office of
Francis J. Flynn, Jr. [ECF No. 54].
                                                  2
    Case: 1:20-cv-04699 Document #: 81 Filed: 09/15/20 Page 3 of 12 PageID #:1677




permitting them to lead this case will allow the most efficient and effective presentation of the

proposed settlement for Court approval. Of course, any party or his or her counsel can object to

the settlement, if upon disclosure those individuals believe the settlement is deficient in any

respect. 2 But appointing those who are responsible for the settlement capitalizes on the

cohesion, consensus, and progress built by Ms. Carroll and Mr. Jagher. That progress should

continue.

       Because Settling Plaintiffs and other Interim Counsel believe that our proposed structure

is the most qualified based on our collective experience and the results we achieved in this case,

Settling Plaintiffs and other Interim Counsel designated below object to the following applicants

who seek leadership appointments: (1) the applications of Mr. Rhow and Ms. Jones, their

proposed Steering Committee (Kara Wolke, Amanda Klevorn and David Given) and Liaison

Counsel Shannon McNulty (“Non-Settling Plaintiffs’ Slate”) [ECF Nos. 40, 43] 3; (2) Ms.

Weaver and Ms. Keller’s joint leadership application [ECF No. 51], and; (3) Mr. Hedin and Mr.

Fraietta’s application which proposes they serve as Co-Lead counsel (or alternatively as

members of a PSC) and Mr. Larry as a member of the PSC [ECF No. 55]. 4



2
  As explained in the Carroll Decl., Settling Plaintiffs support and have urged the disclosure of
the settlement to all litigants. At the very least, Settling Plaintiffs believe that TikTok should
support disclosure to the Court in camera. TikTok has not yet agreed to our proposals. See
Carroll Decl. at ¶¶23, 24, 75, 76.
3
  The PSC members and Liaison Counsel proposed by Mr. Rhow and Ms. Jones, each filed a
separate application. See [ECF No. 41] (Amanda Klevorn), [ECF No. 47] (David Given) and
[ECF No. 45] (Kara Wolke); [ECF No. 48] (Shannon McNulty).
4
  Two additional applications for PSC positions were filed by Mark Molumphy [ECF No. 35]
and Dan Girard [ECF No. 44], both of whom support Ms. Carroll and Mr. Jagher for Co-Lead
Counsel. A third application was filed by Eric Gibbs, who has indicated a neutral position as to
the appointment of Co-Lead Counsel, but proposes himself to serve as a “liaison” between Non-
Settling Plaintiffs and Settling Plaintiffs. [ECF No. 46]. In Settling Plaintiffs’ view, this proposal
is unnecessary, inefficient and not supported by the various counsel involved. This settlement,
reached with the assistance of a highly respected mediator, and having the support of the vast
majority of counsel, should simply proceed in its normal course.
                                                  3
    Case: 1:20-cv-04699 Document #: 81 Filed: 09/15/20 Page 4 of 12 PageID #:1678




       While the attorneys on Non-Settling Plaintiffs’ Slate make general statements promoting

their ability to create consensus and work cooperatively with other plaintiffs’ counsel, these

generalities are demonstrably inconsistent with their conduct in this case. All of this history is

recounted in Ms. Carroll’s Declaration [ECF No. 52] and need not be restated here.

       Even looking at Non-Settling Plaintiffs’ Slate objectively, however, it becomes evident

that the slate is not the product of consensus. Non-Settling Plaintiffs’ Slate has not expanded to

include any counsel from outside their small, self-formed group, or counsel from any actions

filed outside of the Northern District of California. Non-Settling Plaintiffs’ proposal was not

built on any post-MDL consensus: they merely propose all of the same attorneys they previously

proposed in California. 5 And unlike Settling Plaintiffs’ group, which includes counsel who

stepped back so that the group could be best-positioned to achieve success for the class, none of

the Northern District of California counsel from Non-Settling Plaintiffs’ Slate did the same.

Because of this, Non-Settling Plaintiffs’ proposal is stilted and heavily favors the Northern

District of California attorneys to the exclusion of nearly everyone else, including the counsel

who reached a settlement with Defendants. Similarly, Ms. Weaver and Ms. Keller, who

supported Non-Settling Plaintiffs’ Slate in its entirety during the Northern District of California

leadership proceedings, did not form a proposal built on consensus. In re TikTok, Inc. Privacy

Litigation, 5:19-cv-07792-LHK (N.D. Cal.) [ECF Nos. 66, 72, 76].

       The same goes for the application of Messrs. Hedin, Fraietta and Larry. Settling

Plaintiffs were unaware of the involvement of any of these attorneys until they filed a leadership

application in the MDL docket (within minutes of filing a complaint, M.G. v. TikTok, the day



5
 Non-Settling Plaintiffs’ Slate includes proposed Liaison Counsel Shannon McNulty, retained
by Non-Settling Plaintiffs’ counsel without having filed any underlying case in the MDL. As
such, the inclusion of Ms. McNulty is not the result of any consensus building.
                                                 4
    Case: 1:20-cv-04699 Document #: 81 Filed: 09/15/20 Page 5 of 12 PageID #:1679




leadership applications were due). None of these attorneys provided any advance notice of these

filings nor any articulated interest in collaborating with any of the other counsel in the MDL.

       Non-Settling Plaintiffs 6 attempt to downplay our successful consensus-building and

imply that the entire coalition we assembled is uninformed about the settlement. This is not

accurate. While only the delegates to the mediation know the exact settlement terms because

they personally participated, the larger group of 16 firms were involved at all times in mediation

preparation (and are contributing now). All 16 firms worked on pre-mediation analysis, were

involved in mediation-related discussions with defense counsel and assisted in the preparation of

Settling Plaintiffs’ mediation materials. For purposes of efficiency (since having 16 firms

appearing at the mediation would not have been productive), the larger group ultimately agreed

on a delegation authorized to conduct negotiations. It is not atypical for authorized

representatives to negotiate in this manner. After the settlement was reached, all firms agreed to

respect confidentiality given TikTok’s articulated need for secrecy. Further, the additional firms

supporting Ms. Carroll and Mr. Jagher have also agreed to preserve confidentiality and respect

our process. See Carroll Decl., ¶¶16, 23 & n. 5.

       Non-Settling Plaintiffs’ red herring argument (that because Mr. Jagher and Ms. Carroll

only plead BIPA claims in the pre-MDL consolidated complaint filed in this District, they cannot

resolve any additional claims) is unsupported by the facts and relevant caselaw, and can be

further addressed in the briefing seeking preliminary or final approval of the proposed

settlement. First, the 16-firm mediation coalition includes plaintiffs who assert non-BIPA claims

on behalf of nationwide classes. See, e.g., G.R. et. al. v. TikTok, Inc. et. al., 2:20-cv-04537-AB-



6
  For clarity, references to “Non-Settling Plaintiffs” do not include Messrs. Hedin and Fraietta, as
they have had no involvement throughout the history of this case and no statements can properly
be attributed to them.
                                                   5
    Case: 1:20-cv-04699 Document #: 81 Filed: 09/15/20 Page 6 of 12 PageID #:1680




MAA (C.D. Cal.). Thus, the Settling Plaintiffs group, on behalf of a nationwide class, has

standing to assert all of the claims and negotiate a resolution for the Court’s approval. Second,

Non-Settling Plaintiffs’ assertion that the VPPA claim could not properly be compromised since

it had not been pleaded at the time of mediation, is also incorrect. 7 The VPPA is a federal cause

of action, and thus all current plaintiffs have a potential VPPA claim that can be asserted on

behalf of a nationwide class (to the extent such a claim is viable). Prior to filing their

complaints and then in anticipation of mediation, the experienced counsel among the 16-firm

mediation coalition considered a broad range of potential claims (including the VPPA claim),

going well beyond the four corners of the on-file complaints. All potential claims were

thoroughly vetted, their merits were closely scrutinized and the relief was zealously negotiated.

Though Non-Settling Plaintiffs argue otherwise, there is no requirement that every potential

claim be pleaded prior to the time of settlement negotiations. Of course, once the settlement is

made public, the Court will evaluate the proposed scope of the release at preliminary and final

approval. 8 Non-Settling Plaintiffs attempt to cast aspersions on the settlement process to support

their leadership bid, but any such issues will be properly handled during the Rule 23 process for

objections.




7
  Ms. Weaver and Ms. Keller seek credit for originating the VPPA claim, when in fact, those
claims are at issue in the T.K. matter which is outside of the MDL has been pending before Judge
Blakey since December of 2019. See Carroll Decl. ¶82. In any event, the VPPA claim was
specifically discussed during our settlement negotiations. Id.
8
  With respect to the ability to settle unpleaded claims, “the Seventh Circuit has recognized that a
settlement offer is a compromise and may include release of claims not before the court.
Additionally, a federal court may release not only those claims alleged in the complaint, but also
a claim based on the identical factual predicate as that underlying the claims in the settled class
action even though the claim was not presented and might have not been presentable in the class
action.” Kaufman v. American Express Travel Related Services, Co., No. 07-cv-1707, 2016 WL
806546, at *9 (N.D. Ill. 2016) (internal quotation marks and citations omitted).
                                                  6
   Case: 1:20-cv-04699 Document #: 81 Filed: 09/15/20 Page 7 of 12 PageID #:1681




       Because Settling Plaintiffs reached a settlement with Defendants, it would be highly

inefficient to adopt Non-Settling Plaintiffs’ proposal concerning the retention of a Special Master

to resolve document preservation issues. The Court’s two prior Case Management Orders

eliminate any preservation concerns. There is no good cause to expend class resources for the

services of a Special Master, which would only reduce the recovery to class members, with no

attendant benefit. Of course, should the services of a Special Master become necessary, lead

counsel can freely engage one in the future. Non-Settling Plaintiffs’ proposal for the

appointment of a Special Master does not provide a basis for their appointment to lead this case.

       When the Court analyzes the various competing applications using its articulated criteria

(the willingness and availability to commit to this case, the ability to work cooperatively, and

counsel’s experience in this type of litigation), it should find that Settling Plaintiffs’ proposed

structure most aptly fulfills each of these requirements and should be appointed to lead this case.

                                       Respectfully submitted,

Date: September 15, 2020               CARLSON LYNCH LLP

                                       /s/ Katrina Carroll
                                       Katrina Carroll
                                       111 W. Washington Street, Suite 1240
                                       Chicago, IL 60602
                                       Tel: (312) 750-1265
                                       Email: kcarroll@carlsonlynch.com

                                       Jonathan M. Jagher
                                       FREED KANNER LONDON &
                                          MILLEN LLC
                                       923 Fayette St.
                                       Conshohocken, PA 19428
                                       Tel.: (610) 234-6487
                                       Email: jjagher@fklmlaw.com

                                       PROPOSED CO-LEAD COUNSEL AND INTERIM
                                       COUNSEL OF RECORD FOR SETTLING
                                       PLAINTIFFS

                                                  7
Case: 1:20-cv-04699 Document #: 81 Filed: 09/15/20 Page 8 of 12 PageID #:1682




                            Elizabeth A. Fegan
                            FEGAN SCOTT LLC
                            150 S. Wacker Dr., 24th Floor
                            Chicago, IL 60606
                            Tel: (312) 741-1019
                            Fax: (312) 264-0100
                            Email: beth@feganscott.com

                            PROPOSED LIAISON COUNSEL AND INTERIM
                            COUNSEL OF RECORD FOR SETTLING
                            PLAINTIFFS

                            Robert Foote
                            FOOTE, MIELKE, CHAVEZ & O’NEIL, LLC
                            10 W. State Street, Suite 200
                            Geneva, IL 60134
                            Tel.: (630) 232-7450
                            Fax: (630) 232-7452
                            Email: rmf@fmcolaw.com

                            James B. Zouras
                            STEPHAN ZOURAS, LLP
                            100 N. Riverside Plaza,
                            Suite 2150
                            Chicago, Illinois 60606
                            Tel.: (312) 233-1550
                            Fax: (312.) 233-1560
                            Email: jzouras@stephanzouras.com

                            Tina Wolfson
                            AHDOOT & WOLFSON, PC
                            10728 Lindbrook Drive
                            Los Angeles, CA 90024
                            Tel: (310) 474-9111
                            Fax: (310) 474-8585
                            Email: twolfson@ahdootwolfson.com

                            Joseph P. Guglielmo
                            SCOTT+SCOTT ATTORNEYS AT LAW LLP
                            230 Park Avenue, 17th Floor
                            New York, NY 10169
                            Tel.: (212) 223-6444
                            Fax: (212) 223-6334
                            Email: jguglielmo@scott-scott.com

                                      8
Case: 1:20-cv-04699 Document #: 81 Filed: 09/15/20 Page 9 of 12 PageID #:1683




                            Michael Gervais
                            SUSMAN GODFREY L.L.P.
                            1900 Avenue of the Stars, Suite 1400
                            Los Angeles, CA 90067
                            Tel: (310) 789-3100
                            Fax: (310) 789-3150
                            Email: mgervais@susmangodfrey.com

                            PROPOSED PLAINTIFFS’ STEERING COMMITTEE
                            AND INTERIM COUNSEL OF RECORD FOR
                            SETTLING PLAINTIFFS

                            Tiffany M. Yiatras
                            CONSUMER PROTECTION LEGAL, LLC
                            8235 Forsyth Boulevard, Suite 1100
                            Saint Louis, MO 63105-1643
                            Tel: (314) 541-0317
                            Email: tiffany@consumerprotectionlegal.com

                            Jennifer W. Sprengel
                            Daniel O. Herrera
                            Nickolas J. Hagman
                            CAFFERTY CLOBES MERIWETHER
                                & SPRENGEL LLP
                            150 S. Wacker, Suite 3000
                            Chicago, Illinois 60606
                            Tel: (312) 782-4880
                            Fax: (312) 782-4485
                            Email: jsprengel@caffertyclobes.com
                            Email: dherrera@caffertyclobes.com
                            Email: nhagman@caffertyclobes.com

                            Joseph G. Sauder
                            Joseph B. Kenney
                            SAUDER SCHELKOPF LLC
                            1109 Lancaster Avenue
                            Berwyn, PA 19312
                            Tel.: (610) 200-0580
                            Fax: (610) 421-1326
                            Email: jgs@sstriallawyers.com
                            Email: jbk@sstriallawyers.com

                            Richard R. Gordon
                            GORDON LAW OFFICES, LTD.
                            111 West Washington Street

                                     9
Case: 1:20-cv-04699 Document #: 81 Filed: 09/15/20 Page 10 of 12 PageID #:1684




                             Suite 1240
                             Chicago, Illinois 60602
                             Tel: (312) 332-5200
                             Fax: (312) 242-4966
                             Email: rrg@gordonlawchicago.com

                             Erik H. Langeland
                             733 Third Avenue, 15th Floor
                             New York, N.Y. 10017
                             Tel: (212) 354-6270
                             Email: elangeland@langelandlaw.com

                             Jon A. Tostrud
                             TOSTRUD LAW GROUP, P.C.
                             1925 Century Park East, Suite 2100
                             Los Angeles, CA 90067
                             Tel: (310) 278-2600
                             Email: jtostrud@tostrudlaw.com

                             William A. Baird
                             BAIRD LAW FIRM
                             2625 Townsgate Road
                             Suite 330
                             Westlake Village, CA 91361
                             Tel: (805) 267-1209
                             Fax: (866) 747-3905
                             Email: william.a.baird.1@gmail.com

                             E. Kirk Wood
                             WOOD LAW FIRM, LLC
                             P. O. Box 382434
                             Birmingham, AL 35238-2434
                             Tel: (205) 908-4906
                             Fax: (866) 747-3905
                             Email: ekirkwood1@bellsouth.net

                             INTERIM COUNSEL OF RECORD FOR SETTLING
                             PLAINTIFFS

                             Francis J. “Casey” Flynn, Jr.
                             LAW OFFICE OF FRANCIS J. FLYNN, JR.
                             3518A Arsenal Street
                             Saint Louis, Missouri 63118
                             Tel: (314) 662-2836
                             Email: casey@lawofficeflynn.com



                                      10
Case: 1:20-cv-04699 Document #: 81 Filed: 09/15/20 Page 11 of 12 PageID #:1685




                             Lawana S. Wichmann
                             James G. Onder
                             ONDERLAW, LLC
                             110 E. Lockwood Ave, 2nd Floor St. Louis, MO 63119
                             Tel: (314) 963.9000
                             Fax: (314) 963-1700
                             Email: Wichmann@onderlaw.com
                             Email: Onder@onderlaw.com

                             ADDITIONAL INTERIM COUNSEL OF RECORD




                                      11
  Case: 1:20-cv-04699 Document #: 81 Filed: 09/15/20 Page 12 of 12 PageID #:1686




                                CERTIFICATE OF SERVICE

       I hereby certify that on September 15, 2020, the foregoing document was filed

electronically through the Court’s Electronic Case Filing System. Service of this document is being

made upon all counsel of record in this case by the Notice of Electronic Filing issued through the

Court’s Electronic Case Filing System on this date.

                                                      /s/ Katrina Carroll
                                                      Katrina Carroll




                                                12
